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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

 UNITD STATES OF AMERICA                    )
                                            )
                                            )        CASE NO. 4:21-cr-111
                     v.                     )
                                            )
 RAPHAEL SAMUEL SMITH,                      )


           GOVERNMENT’S RESPONSE IN OPPOSITION
  TO DEFENDANT’S FIRST PARTICULARIZED MOTION TO SUPPRESS
                     WIRETAP (DOC. 371)

TO THE HONORABLE COURT:

        COMES NOW, the United States of America, by and through David H. Estes,

United States Attorney for the Southern District of Georgia, and the undersigned

Assistant United States Attorney, and before this Honorable Court, responds to

Defendant’s First Particularized Motion to Suppress Wiretap (Doc. 371). For the

reasons set forth below, the Government opposes said motion.

                                  INTRODUCTION

        In   his   Motion   to   Suppress   Interception   of   Wire   and   Electronic

Communications, Defendant Raphael Samuel Smith (hereinafter “Defendant”) moves

to suppress all evidence obtained through wire or oral communication on the grounds

that:

        a. The communications were unlawfully intercepted;

        b. The orders of authorization were insufficient on their face;



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       c. The applications and court orders were obtained in violation of 18 U.S.C.

          §§2515 and 2518; and

       d. The interceptions were not made in conformity with the court orders or with

          the requisites of 18 U.S.C. §2518(5). (Doc. 371 at 10).

       Defendant alleges that the affidavits supporting the wiretaps lacked probable

cause (Id. at 11); that there was no necessity for the wiretaps (Id. at 17-21); that the

minimization requirements were not complied with 1; that the orders failed to identify

whose communications may be intercepted (Id. at 21); and the application and orders

failed to describe the communications to be intercepted (Id. at 22). 2

       The first 10 pages of the Defendant’s motion recite general statements of law.

(Id. at 1-10). The remaining pages include assertions that the wiretap authorizations

were defective for various reasons. However, despite apparent citations to affidavits

and orders, the motion is not supported by any documents or affidavits.

       S.D. Ga. L. Cr. R. 12.1 states, “Where allegations of fact are relied upon that

are not supported by the existing record, supporting affidavits must be submitted.” It

is not sufficient for defendants to “promise to prove at the evidentiary hearing what

they did not specifically allege in their motion to suppress.” United States v. Cooper,

203 F.3d 1279, 1284 (11th Cir. 2000)(quoting United States v. Richardson, 764 F.2d

1514, 1527 (11th Cir. 1985).



1 Defendant merely alleges that minimization procedures were not followed, “[U]pon
information and belief.” (Doc. 371 at 21). However, Defendant offers no facts to support this
contention.
2 Again, Defendant provides no factual support to this allegation.

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       Additionally, it is well settled that a court need not act on general or conclusory

assertions. Cooper, 2013 F.3d 1279, 1284 (11th Cir. 2000). The motion must allege

facts, which if proven, would provide a basis for relief. A motion to suppress must in

every critical respect be sufficiently definite, specific, detailed, and non-conjectural to

enable the Court to conclude that a substantial claim is presented. Id. See e.g., United

States v. Raheem Williams, 4:17-cr-00253-WTM-GRS, Doc. 37, Order, 2/1/2018.

(Court denied hearing on conclusory motion to suppress not supported by supporting

documents). In the present case, the Defendant’s challenge to the wiretap based on

the unsubstantiated assertions that law enforcement failed to follow proper

minimization procedures and that the description of communications to be

intercepted was insufficient should be denied as Defendant’s motion fails to include

any facts, which if proven, would provide a basis for relief. 3

                     STATEMENT OF PERTINTENT FACTS

       a. Brief overview of the drug trafficking organization

       Beginning as early as April 2019, law enforcement received information

regarding individuals associated with a drug trafficking organization operating in the

Liberty City area of Chatham County. In August of 2019, law enforcement started

an investigation into this drug trafficking organization (“DTO”) and completed four

(4) controlled purchases of controlled substances.          In February of 2020, law

enforcement was granted the first authorization to conduct interceptions of wire and



3The Government will refer to Affidavits related to TT-15 and TT-17 as “Affidavit TT-15,”
“Affidavit TT-17,” and “Affidavit Extension TT-15.”
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electronic communications pursuant to § 16-11-64 of the Official Code of Georgia and

Chapter 119 of Title 18 of the United States Code. All told, this investigation included

court-authorized wiretaps for 21 target telephones. 4


       The interceptions of wire and electronic communications reveled the

individuals listed in this indictment are involved in the DTO drug conspiracy. This

monitoring was done in conjunction with physical surveillance, use of pole camera

monitoring, federally authorized GPS tracking devices, cellular GPS tracking, etc.

Additionally, the United States Postal Inspectors Service tracked packages of

suspected narcotics originating from outside of the Southern District of Georgia that

were shipped to members of the conspiracy. Agents identified, through the controlled

purchases and interceptions of wire and electronic communications, numerous

locations used by the DTO. Numerous search warrants for cell phone data, tracking

devices, and suspected narcotics parcels were also executed as part of the

investigation.


                                   LEGAL ANALYSIS

    A. Standing

       As an initial matter, the government does not contest that Defendant, who was

a party to intercepted communications on TT-15 and TT-17, is an aggrieved person

with standing to challenge the legality of the authorizations for Interception of Wire




4 Target Telephone will be refereed to as TT followed by the number of the facility being
intercepted (i.e. 1, 2, 3, 4, etc.).
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and Electronic Communications as to those target telephones only. 5              However,

Defendant cannot challenge wiretaps where he did not have standing, even when that

wiretap was used as the basis to obtain a wiretap where the defendant does have

standing. Brunoehler v. Tarwater, 743 Fed. Appx. 740 (9th Cir. 2018), United States

v. Wright, 524 F.2d 1100, 1102 (2d Cir. 1975), United States v. Scasino, 513 F.2d 47,

51 (5th Cir. 1975), 6 United States v. Salazar-Rojas, Nos. CR13–49RSL, CR13–50RSL,

2015 WL 687348 (W.D. Wash. Feb. 18, 2015).

        However, for the reasons set forth below, Defendant’s other assertions

regarding the propriety of the wiretap authorizations are without merit and the

Motions to Suppress should be denied.

      B. The Government did not violate the Defendant’s constitutional rights

        A wiretap application must include a full and complete statement of the facts

and circumstances ... including (I) details as to the particular offense that has been,

is being, or is about to be committed. 18 U.S.C. ' 2518(1)(b)(I). This must be

supported by the same probable cause necessary for a search warrant. See, United



5 All of the Affidavits, Applications, Investigation Warrants and Orders, related to TT-1
through TT-21 have been attached to the Government’s Response in Opposition to the
Motion to Suppress as to Defendant Adam Garcia. (Doc. 417; Exhibits 1 – 61). Due to the
voluminous nature of Government’s Exhibits 1 – 61, the Government will not attach
duplicate copies of these exhibit but rather refers the Court to its previous response. It
should be noted that all of the documents that have now been identified as
Government’s Exhibits 1 – 61 have previously been provided to defense counsel as part of
the Government’s discovery disclosure.
6In Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), this court adopted
as precedent all decisions of the former Fifth Circuit Court of Appeals decided prior to
October 1, 1981.

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States v. Hyde, 574 F.2d 856, 862 (5th Cir. 1978). The issuing magistrate is to make

a   Apractical, common-sense      decision@       about whether the Atotality of the

circumstances@ indicate that there is probable cause that the sought-for evidence will

be obtained. Illinois v. Gates, 462 U.S. 213, 238 (1983). The authorizing judge=s

determination is Asimply to ensure that there is a >substantial basis for ... concluding

that probable cause existed.=@ Id. at 238-39 (citation omitted). The practical nature

of the judge=s decision justifies Agreat deference@ upon review and calls for upholding

those findings even in marginal or doubtful cases. See United States v. Lockett, 674

F.2d 843, 845 (11th Cir. 1982). Not every failure to comply fully with any requirement

provided in Title III would render the interception unlawful. Suppression is required

only for a failure to satisfy any of those statutory requirements that directly and

substantially implement the congressional intention to limit the use of intercept

procedures. United States v. Donovan, 429 U.S. 413 (1977).

    C. Both affidavits in support of the interception of wire and electronic
       communications of TT-15 and TT-17 contained sufficient probable
       cause. 7

      Title III of The Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C.

§§ 2510-2520, sets forth the requirements that the government must meet before

electronic surveillance may be authorized. These requirements include that an



7 The Government has focused its discussion to those documents related to TT-15 and TT-17.

However, because each affidavit related to TT-15 and TT-17 incorporate by reference all
affidavits previously sworn to in this case, the Government also incorporates by reference
Government’s Exhibits 1 – 61 previously attached to Government’s Response in Opposition
to the Motion to Suppress as to Defendant Adam Garcia. (Doc. 417; Exhibits 1 – 61).

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application must include “a full and complete statement of the facts and

circumstances ... including (I) details as to the particular offense that has been, is

being, or is about to be committed.” 18 U.S.C. § 2518(1)(b). “An application for a

wiretap authorization must be supported by the same probable cause necessary for a

search warrant. ... The issuing [district judge] is to make a ‘practical, common-sense

decision’ about whether the ‘totality of the circumstances’ indicate that there is

probable cause that the sought-for evidence will be obtained.” United States v. Nixon,

918 F.2d 895, 900 (11th Cir. 1990); see also United States v. Angulo-Hurtado, 165 F.

Supp. 2d 1363, 1375-76 (N.D.Ga. 2001)(the same standard for judging the adequacy

of an affidavit for a search warrant is also applied to affidavits in support of a

wiretap). Probable cause does not require overwhelmingly convincing evidence but

only “reasonably trustworthy information.” Ortega v. Christian, 85 F.3d 1521, 1525

(11th Cir. 1996). Probable cause must be judged “not with clinical detachment, but

with a common sense view to the realities of normal life.” Wilson v. Attaway, 757 F.2d

1227, 1235 (11th Cir. 1985). “As with other types of search warrants, the probable

cause needed to obtain a wiretap must exist at the time the surveillance is

authorized.” United States v. Domme, 753 F.2d 950, 953 (1985). To establish probable

cause, the record must demonstrate “a fair probability that contraband or evidence of

a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983);

United States v. Miller, 24 F.3d 1357, 1361 (11th Cir. 1994); see also United States v.

Alfano, 838 F.2d 158, 161-62 (6th Cir. 1998)(“[C]ertainty is not required at this stage.

...Facts can amount to a fair probability without being proof beyond a reasonable
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doubt or even a prima facie showing.”). “Courts reviewing the legitimacy of search

warrants should not interpret supporting affidavits in a hypertechnical manner;

rather, a realistic and commonsense approach should be employed so as to encourage

recourse to the warrant process and to promote the high level of deference

traditionally given to [judges] in their probable cause determinations.” Miller, 24 F.3d

at 1361. Where, as here, a defendant challenges a judge’s determination that probable

cause for a wiretap exists on the face of an affidavit, the reviewing court should not

review the affidavit de novo for probable cause. Massachusetts v. Upton, 466 U.S.

727, 728, 104 S. Ct. 2085, (1984). Rather, when reviewing a wiretap affidavit, the

court’s task is “simply to ensure that the [judge] had a ‘substantial basis for ...

conclud[ing]’ that probable cause existed.” Nixon, 918 F.2d at 900. In reviewing the

decision to issue a wiretap order, a reviewing court’s role is “not to make a de novo

determination of the sufficiency of the application;” rather, the reviewing court’s role

is to determine “if the facts set forth in the application were minimally adequate to

support the determination that was made.” United States v. Diaz, 176 F.3d 52, 109

(2nd Cir. 1999).

      A wiretap is presumed to be valid and a defendant has the burden of

overcoming this presumption and of proving that the wiretap order was unlawfully

obtained. United States v. Mitchell, III, 274 F.3d 1307, 1310 (10th Cir. 2001) “[T]he

practical nature of the [district court’s] decision justifies ‘great deference’ upon review

and calls for upholding the [district court’s] findings even in marginal or doubtful

cases.” Nixon, 918 F.2d at 900. “‘Reasonable minds frequently may differ on the
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question whether a particular affidavit establishes probable cause, and we have thus

concluded that the preference for warrants is most appropriately effectuated by

according ‘great deference’ to a [judge’s] determination. Thus, the fact that a later

trial judge or reviewing court may feel that a different conclusion was appropriate

does not require, nor even authorize, the suppression of evidence gained through such

a warrant.” Alfano, 838 F.2d at 162 (citations omitted).

         Defendant assert that, “Affidavits for TT-15 and TT-17 were supported by stale

and questionably unreliable information.”           (Doc. 371 at 17).   Staleness can be

remedied if the Government updates, substantiates, or corroborates older material.

United States v. Harris, 20 F.3d 445 (11th Cir. 1994). Furthermore, a continuing

pattern of criminal activity allows a more liberal examination of information relied

upon to substantiate probable cause. United States v. Terrell, 912 F.3d 1125 (8th Cir.

2019), Unites States v. Hyde, 574 F.2d 856 (5th Cir. 1978). Defendant focuses on

information that was first obtained in 2016 to support his argument that this

information was stale. (Doc. 371 at 14). However, Defendant fails to discuss the fact

that the criminal behavior was part of a longstanding pattern of behavior that had

been ongoing since at least 2016 and that information related to the criminal use of

TT-15 as recently as 2 days prior the authorization was included in the affidavit to

support probable cause. (Affidavit TT-15 8 at 31, 33). Additionally, intercepted calls

that involved the coordination of resupplies of narcotics were described, and in some




8   Affidavit TT-15 has been previously attached as Exhibit 33.
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instances transcribed, that occurred between June 2, 2020 and June 11, 2020, which

was only 13 days prior to the issuance of the wiretap authorization on TT-17.

(Affidavit TT-17 9 at 35 – 43). Finally, multiple narcotics related communications

were transcribed and discussed related to conversations that occurred between June

25, 2020 and July 19, 2020, a mere 2 days prior to the authorization of a wiretap

extension on TT-17.         (Affidavit TT-17 Extension 10 at 36 – 48).      Clearly, the

information relied upon for the issuance of wiretaps on TT-15 and TT-17 was not

stale.

         In addition to the specific facts and circumstances establishing probable cause

to intercept the target facility, each affidavit in support of wiretap authorization for

TT-15 and TT-17 included a section entitled, “Circumstances Pertaining to the

Ongoing Investigation and Target Subjects of Affidavit,” which provided a brief

synopsis of information previously obtained during the course of the investigation.

(See e.g., Affidavit TT-15 at 27 – 29; Affidavit TT-17 at 30 – 35; Affidavit Extension

TT-17 at 33 – 36). However, this information, which did include older details of the

investigation, only provided a backdrop for the next section of the affidavits that

identified the most recent facts and circumstances establishing that TT-15 and TT-

17 were being used to facilitate the target offenses. (Affidavit TT-15 at 29 – 35;

Affidavit TT-17 at 35 – 46; Affidavit Extension TT-17 at 36 – 50).




9   Affidavit TT-17 has been previously attached as Exhibit 37.
10  Affidavit Extension TT-17 has been previously attached as Exhibit 41.
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      As described supra, in each affidavit, Agent Brent Minton included details

regarding the overall conspiracy but also transcribed relevant portions of intercepted

calls and explained why, in his training and experience, these communications were

related to the target offenses under investigation. Notably, specific intercepts that

were obtained based on prior wiretap authorizations demonstrated that TT-15 was

being utilized by Japheth Charles Orr, aka “Fatz” (hereinafter referred to at “ORR”)

to facilitate the transportation and distribution of controlled substances. (Affidavit

TT-15 at 29 – 34).

      As it relates to TT-17, Agent Minton followed the same structure as he did in

drafting the Affidavit for TT-15. In addition to providing a list of the target subjects,

including relevant criminal histories (Affidavit TT-17 at 15 – 26; Affidavit Extension

TT-17 at 16 – 28); he included background information related to the ongoing

investigation (Affidavit TT-17 at 30 – 35; Affidavit Extension TT-17 at 33 – 36); and

then described recent intercepted communications that established that TT-17 was

being utilized by Adam Mathias Garcia, aka “Flako” (hereinafter referred to as

“GARCIA”) to facilitate the transportation and distribution of controlled substances.

(Affidavit TT-17 at 35 – 46; Affidavit Extension TT-17 at 36 – 50).

      In the present case, there was more than enough evidence that TT-15 and TT-

17 were being used for criminal activity to establish probable cause for interception,

and Defendant subjected himself to the interception by contacting TT-15 and TT-17.

Moreover, “a wiretap must be supported by the same probable cause necessary to

obtain a search warrant.” Goldstein, United States v. Goldstein, 989 F.3d 1178, 1192
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(11th Cir. 2021). That is, all that is required for probable cause are “facts showing

that (1) a crime is being, has been, or is about to be committed and (2) communications

about the crime will be intercepted by the requested wiretap.” Id. at 1194.          As

discussed supra, specific details regarding the use of TT-15 and TT-17 to coordinate

and facilitate the transportation and distribution of controlled substances was

included in each affidavit in question.   The government stands by the proposition

that the facts contained therein at the very least establish probable cause that, “(1) a

crime is being, has been, or is about to be committed and (2) communications about

the crime will be intercepted by the requested wiretap.” Id.

   D. In each and every affidavit, the Government demonstrated a necessity
      for the interception of wire and electronic communications.


      Pursuant to 18 U.S.C. § 2518(1)(c), an application for electronic interception

must contain “a full and complete statement as to whether or not other investigative

procedures have been tried and failed or why they reasonably appear to be unlikely

to succeed if tried or to be too dangerous.” Yet, “a comprehensive exhaustion of all

possible investigative techniques is not necessary before applying for a wiretap.”

United States v. De La Cruz Suarez, 601 F.3d 1202, 1214 (11th Cir. 2010). See also

United States v. Van Horn, 789 F.2d 1492, 1496 (11th Cir. 1986) (the application for

a wiretap “must simply explain the retroactive or prospective failure of several

investigative techniques”); United States v. Perez, 661 F.3d 568, 581 (11th Cir. 2011)

(18 U.S.C. § 2518 only “require[s] the Government to show why alternative measures



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are inadequate for ‘this particular investigation.’”) (quoting United States v.

Carrazana, 921 F.2d 12557, 1565 (11th Cir. 1991).

      “The necessity requirement is designed to ensure that electronic surveillance

is neither routinely employed nor used when less intrusive techniques will succeed.”

United States v. Giordano, 416 U.S. 505, 515 (1974); United States v. Kahn, 415 U.S.

143, 153 n. 12 (1974).

      In determining whether the Government has shown necessity, “the district

court is clothed with broad discretion in its consideration of the application.” United

States v. Alonso, 740 F.2d 862, 868 (11th Cir. 1984) (emphasis added). See also United

States v. Fudge, 325 F.3d 910, 919 (“the government’s burden of proving necessity is

not extraordinarily high”). AThe statute was not intended >to foreclose electronic

surveillance until every other imaginable method of investigation has been

unsuccessfully attempted, but simply to inform the issuing judge of the difficulties

involved in the use of conventional techniques.=@ United States v. De La Cruz Suarez,

601 F.3d 1202, 1214 (11th Cir. 2010)(quoting Alonso, 740 F.2d at 868). In making a

determination, courts should evaluate wiretap affidavits Ain a >common sense

fashion,= and >the determination of when the Government has satisfied [the statutory]

requirement must be made against flexible standards, and. . . . each case must be

examined on its own facts.=@ United States v. Miller, 431 F.App=x 847, 853 (11th Cir.

2011)(quoting Hyde, 574 F.2d at 867).


      Similar to the finding of probable cause, the defendant has the burden of

overcoming the presumption of validity that attaches to a district judge’s findings
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that the necessity provisions have been satisfied. United States v. Mitchell, 274 F.3d

1307, 1310 (10th Cir. 2001). Great deference is accorded a district judge’s

determination of necessity. United States v. McGuire, 307 F.3d 1192, 1197 (9th Cir.

2002); Oriakhi, 57 F.3d at 1298.         An order authorizing a wiretap Awill not be

overturned >simply because defense lawyers are able to suggest post factum some

investigative technique that might have been used and was not.=@ United States v.

Ferrer, 4:11-cr-00200-WTM-GRS, Report and Recommendation, Feb, 2, 2012, citing

United States v. Alonso, 740 F.2d 862, 868 (11th Cir. 1984) quoting United States v.

Hyde, 574 F.2d 856, 867 (5th Cir. 1978). For the reasons shown below, the Judge did

not clearly err in granting the wiretap application. 11

        Defendant argues that there was an inadequate showing of necessity. The

Government disagrees and submits that each affidavit adequately demonstrated the

necessity for the court authorized interceptions. Each affidavit specifically explained

what techniques had been utilized, why those techniques would not suffice without

the aid of wiretaps, and why other techniques were not utilized.               Rather than

including mere boilerplate assertions, each affidavit identified facts related to the

specific difficulties encountered by agents in this case. (See e.g., Affidavit TT-15 at 29

– 35; Affidavit TT-17 at 42 – 77; Affidavit Extension TT-17 at 52 – 85).




11A district court's determination that the Government=s application established the requisite
necessity is subject to review for clear error. United States v. Weber, 808 F.2d 1422, 1424
(11th Cir. 1987).

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      The agents were able to develop leads and evidence regarding the conspiracy

in this case and outlined these successes in the affidavits. The agents continued to

analyze toll records, conduct physical surveillance and used other methods. Toll

record analysis, as the government discussed in its affidavits, revealed only the

telephone numbers for callers and persons called, and physical surveillance revealed

only that associates came, went and, in some cases, met.          While many of the

investigative techniques that were employed provided valuable information, agents

are aware that dealers usually only trust a handful of friends, family, and associates.

Interception of wire and electronic communications (i.e., wiretaps) are a way to bridge

this gap between information obtained through confidential sources and information

obtained through wiretaps, where dealers are much more likely to be more

transparent. In the present case, wiretaps were necessary to accomplish the goals of

the investigation.

      In each affidavit, Agent Minton outlined the six goals of the investigation:

      1. To identify as many members of the conspiracy as possible;

      2. To determine both their role within the conspiracy and the level of
         involvement of each;


      3. To gather evidence on as many of the conspirators as possible, not
         just to the level of probable cause, but to the level of beyond
         reasonable doubt;

      4. To seize the largest amount of narcotics possible in order to remove them
         from our community;
      5. To identify and seize all money and other things of value that are
         currently used to facilitate the conspiracy, their "operating capital"
         so others cannot continue to use it to finance the drug trade, as well
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            as profits already realized, in order to remove the motive from
            narcotics trafficking and deter impressionable potential
            replacements;

         6. To identify and disrupt transportation and distribution methods to
            make it difficult for potential replacement conspirators to restart the
            distribution.

(Affidavit TT-15 at 24 - 25; Affidavit TT-17 at 27; Affidavit for Extension TT-17 at 29

– 30).

         Agent Minton then describes thirteen (13) additional objections that it is his

belief can best be achieved through interception of communications over the target

telephones:

         1. to gather sufficient evidence to successfully identify, indict, prosecute and
            convict the target and others yet unknown for the commission of the above
            stated offense;

         2. to identify other members of the narcotic distribution network and
            ascertain the identities of calling parties, the respective roles of these
            individuals by the use of both electronic eavesdropping and other
            investigative means, utilize seized communications, and gather sufficient
            evidence to indict, prosecute and convict the other members of the network;

         3. to identify the precise times when suppliers or co-conspirators place
            telephone calls into the target phone, or out to those phones by the target,
            as well as the location from which such calls are made, so that sufficient
            information may be developed to coordinate surveillance and other
            investigative means, and thereby better determine transaction meeting
            places and narcotic storehouses;

         4. to identify the precise times when deliveries of narcotics to or between the
            target and other members of the conspiracy, identified and not yet
            identified, are made, as well as the location of such deliveries, so that the
            greatest possible quantities of narcotics may be seized;

         5. to ascertain the source or sources of the narcotics distributed by the
            network;


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  6. to identify the location or locations where narcotics are stored, repackaged
     and distributed once delivered to members of the conspiracy, so that the
     largest possible quantities of narcotics may be seized, and thereby removed
     from the channels of trade in this community;

  7. to identify the individuals who purchase or otherwise receive narcotics for
     resale or for personal use from the target or from other members of this
     narcotic distribution network, known and yet unknown, and to pinpoint the
     circumstances under which the narcotics are transmitted, distributed and
     sold in order to discover the identities of potential witnesses to various
     aspects of the narcotic distribution and possession crimes in which the
     target is involved;

  8. to determine the amount and frequency of receipt and delivery of narcotics,
     as well as the cash proceeds relating thereto;

  9. to identify the dates, locations, and facilities used by members of the
     distribution enterprise to transport the narcotics;

  10. to identify the existence of any books, records, accounts, papers, receipts, or
      other documentary physical evidences of the operation, facilities, or
      instrumentalities used by the drug distribution network, as well as the
      proceeds gained by the distribution network, and locations where this
      evidence is stored, including fire-safes and safety deposit boxes, and keys
      to open those locations;

  11. to develop sufficient evidence to demonstrate probable cause that
      conversations relating to the possession or distribution of narcotics is
      occurring over and through the use of other cellular/telephone facilities so
      that when and where appropriate, application for authorization to intercept
      such wire communications can be made; in particular, evidence obtained
      from the eavesdropping warrant executed on the target cellular telephone
      may identify other telephones (cellular phones in particular), which are
      being used to facilitate the sale, possession, and conspiracy to distribute
      cocaine;

  12. to develop sufficient evidence to demonstrate probable cause that evidence,
      which may be seized pursuant to a search warrant, may be found at a
      named location or upon a named individual or a vehicle or a bank safety
      deposit box so that when and where appropriate, application may be made
      for such search warrants; and



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       13. to obtain sufficient evidence in order to remove the largest possible quantity
           of dangerous drugs from the channels of trade, and to dismantle the
           narcotic distribution network of which the target is a part, by gathering
           sufficient evidence to arrest and convict, ORR, CLEVELAND, BADGER,
           JENKINS, BROWN, SMITH, GRAHAM, NEWTON, BLIGE, JOHNSON,
           CONTE, THOMAS, TRAYLOR, SMALLS, LEWIS, LIPSEY, NOTTO,
           CUTTER, SHUMAN, LOPEZ, MONK, CUMMINGS, ROBERTS,
           UM#7026, WADDY, UM#9122, UM#9716, UM#7152, UF#l 732, their co-
           conspirators, and others yet unknown.

(Affidavit TT-15 at 25 – 27; Affidavit TT-17 at 28 – 30; Affidavit TT-17 Extension at

30 – 32). 12

       In discussing the necessity requirement for obtaining wiretap authorization,

the Court in Van Horn states that, “[T]he affidavit need not, however, show a

comprehensive exhaustion of all possible techniques, but must simply explain the

retroactive or prospective failure of several investigative techniques that reasonably

suggest themselves.” United States v. Van Horn, 789 F.2d at 1496. (See also, United

States v. Lilla, 699 F.2d 99, 104 (2d Cir.1983), “there is no requirement ‘that any

particular investigative proceduresbe exhausted before a wiretap may be authorized.’

United States v. Young, 822 F.2d1234, 1237 (2d Cir. 1987)”). The 11th Circuit

further summarizes the necessity requirement for wiretap interception in United

States v. De La Cruz Suarez, 601 F.3d1202, 1214 (11th Cir. 2010), which states:

        [T] he required explanation of other investigative procedures in an
        electronic surveillance application is “designed to assure that
        wiretapping is not resorted to in situations where traditional
        investigative techniques would suffice to expose the crime.” United
        States v. Kahn, 415 U.S. 143, 153 n. 12, 94 S.Ct. 977, 39 L.Ed.2d
        225 (1974). The affidavit in support of a search warrant “must simply


12These goals and objectives are the same in all affidavits except for the names of the
individuals listed in Objective 13 as this list changed as the investigation developed.
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       explain the retroactive or prospective failure of several investigative
       techniques that reasonably suggest themselves.” United States v. Van
       Horn, 789 F.2d 1492, 1496 (11th Cir.1986). However, a comprehensive
       exhaustion of all possible investigative techniques is not necessary
       before applying for a wiretap. United States v. Alonso, 740 F.2d 862,
       868 (11th Cir.1984). The statute was not intended “to foreclose
       electronic surveillance until every other imaginable method of
       investigation has been unsuccessfully attempted, but simply to inform
       the issuing judge of the difficulties involved in the use of conventional
       techniques.” Id.

      In the present case, each and every affidavit in support of wire intercepts and

all extensions as well contained a section devoted to outlining the need in obtaining

wiretap authorization based on the failure of more traditional investigative

techniques, or the determination that those techniques would be unlikely to succeed

if tried or too dangerous to employ.

      In fact, Agent Minton devoted the majority of each affidavit to describing in

detail, utilizing specific facts related to this investigation, eighteen (18) different

investigative techniques that were organized into eleven distinct sections that were

either utilized or considered and to what degree of relative success they had and/or

discussed the limitations of these investigative techniques in relation to satisfying

the goals of this particular investigation.

          (a) Interview of Targets or Associates. Affidavit TT-15 at 38 – 41;
          Affidavit TT-17 at 48 – 52; Affidavit TT-17 Extension at 53 - 57;

          (b) Undercover Agents/Officers, Confidential Informants, and
          Sources of Information. Affidavit TT-15 at 41 - 43; Affidavit TT-17
          at 52 – 54; Affidavit TT-17 Extension at 57 – 59;




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         (c) Search Warrants/Fourth Amendment Waiver Searches. Affidavit
         TT-15 at 43 – 46; Affidavit TT-17 at 54 – 58; Affidavit TT-17 at 59 –
         63;


         (d) Controlled Purchases / Drug Debt Paybacks. Affidavit TT-15 at
         46 – 48; Affidavit TT-17 58 – 60; Affidavit TT-17 Extension at 63 –
         65;


         (e) Cellphone Tolls / Pen Registers / Trap and Trace. Affidavit TT-15
         at 48 – 51; Affidavit TT-17 at 60 – 61; Affidavit TT-17 Extension at
         65 – 67;


         (f) Physical and Electronic Surveillance / Tracking Orders. Affidavit
         TT-15 at 51 – 56; Affidavit TT-17 at 61 – 69; Affidavit TT-17
         Extension at 67 – 75;


         (g) Examination of Discarded Trash. Affidavit TT-15 at 56 – 62;
         Affidavit TT-17 at 69 – 73; Affidavit TT-17 Extension at 75 – 79;


         (h) Grand Jury Subpoenas. Affidavit TT-15 at 62 – 63; Affidavit TT-
         17 at 73 – 74; Affidavit TT-17 Extension at 79 – 80;


         (i) Arrests. Affidavit TT-15 at 63 – 64; Affidavit TT-17 at 74 – 76;
         Affidavit TT-17 Extension at 80 – 82;


         (j) Financial Investigation. Affidavit TT-15 at 64 – 66; Affidavit TT-
         17 at 76 – 77; Affidavit TT-17 Extension at 82 – 83;


         (k) Traffic Stops. Affidavit TT-15 at 66 – 67; Affidavit TT-17 at 77 –
         79; Affidavit TT-17 Extension at 83 – 85.


      Furthermore,    even   assuming     arguendo    that   additional   traditional

investigative techniques should have been considered, failing to utilize an

investigative technique does not automatically undermine a showing of necessity.


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See, e.g., United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978 13) (“courts will not

invalidate a wiretap order simply because defense lawyers are able to suggest post

factum some investigative technique that might have been used and was not”).

       Defendant asserts that, “it is completely conceivable that use of interviews,

confidential   informants,    consensual     monitoring,    along    with   pen    registers,

surveillance, and search warrants, could have led law enforcement to achieve the

goals of their investigations.” (Doc. 371 at 20). However, this statement is exactly the

type of post factum assertion conjured up by defense attorneys that the Court in Hyde

discounted.

       But again, whether agents make an exhaustive attempt of every investigative

technique is irrelevant as long as agents can explicitly explain why that specific

investigative technique will likely fail, such as is the case here. See, De La Cruz

Suarez, 601 F.3d at 1214 and Van Horn, 789 F.2d at 1496.                  The Government

acknowledges that traditional methods of investigation revealed some important

information. However, nothing in the law requires that traditional techniques be

useless. United States v. Allen, No. 07-10703, 2008 WL 1777420, *4 (11th Cir. Apr.

21, 2008) (unpublished). See also United States v. Carrillo, 123 F.Supp.2d 1223, 1234

(D. Colo. 2000) (“[T]he mere attainment of some degree of success during law

enforcement’s use of traditional investigative methods does not alone serve to

extinguish the need for a wiretap.”) (citation omitted) (alteration in original). Rather,



13This court adopted as precedent all decisions of the former Fifth Circuit Court of Appeals
decided prior to October 1, 1981. Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981).
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the need for a wiretap takes into account the usefulness of traditional methods as

well as the government’s goals, however broad. Allen, 2008 WL 1777420, at *4.

      In a case factually analogous to the present case (where the investigators’ goal

was to “identify all the co-conspirators involved. . . and to determine the full scope of

the conspiracy”), the Eleventh Circuit held that an affidavit in support of interception

of electronic communication met the necessity requirement as:

      [I]t exhaustively described numerous investigative techniques that had
      been tried with only partial success or that would not likely succeed,
      including analyzing phone records, using confidential informants,
      surveillance, interviews, grand jury subpoenas, financial records, and
      search warrants. As [the agent] explained, although some of these
      techniques had uncovered useful historical information, a wiretap was
      needed to identify all the co-conspirators and reveal the full scope of the
      conspiracy.


United States v. Goldstein, 989 F.3d 1178, 1195 (11th Cir. 2021). See also United

States v. Hyppolite, 609 Fed. App’x 597, 607 (11th Cir. 2015) (an application for

interception of wire and electronic communication was accepted based on “affidavits

recounting the limitations on the government’s use of conventional investigative

techniques, because it was unlikely these conventional techniques would be helpful in

the future”) (emphasis added).

      Finally, the affidavits adequately explained why other methods were not

enough or were likely to fail. See Van Horn, 789 F.2d at 1496-97. Comparing the facts

of this case with the information provided in Van Horn, the government submits it

sufficiently demonstrated necessity in its affidavits. The focus is on the nature of the

information provided, and not the means by which it was included. See United States
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v. Dennis, 786 F.2d 1029, 1035 (11th Cir. 1986). “It is true that [the Court] must be

careful not to permit the government merely to characterize a case as a drug

conspiracy that is therefore inherently difficult to investigate.” United States v.

Carrazana, 921 F.2d 1557, 1565 (11th Cir. 1991) (internal marks and citation

omitted). “The affidavit must show with specificity why in this particular

investigation ordinary means of investigation will fail.” Id. That said, “the fact that

drug investigations suffer from common investigatory problems” does not make

problems which appear to be “boilerplate” any “less vexing.” United States v. Milton,

153 F.3d 891, 895 (8th Cir. 1998). See also Carrillo, 123 F. Supp. at 1246. “Drug

crime is necessarily harder to detect than other crimes because it is difficult to

witness and does not create victims who are compelled to come forward and report

the crime.” Milton, 153 F.3d at 895. See also Carrillo, 123 F. Supp. 2d at 1245. Here,

the fact that Defendants employed standard techniques of those in the drug trade to

avoid law enforcement detection, such as utilizing coded language, engaging in

counter surveillance and utilizing residences to store narcotics to avoid detection does

not make these “common investigatory problems” any “less vexing”. Milton at 895.

      Under Eleventh Circuit precedent, the affidavits duly demonstrated necessity.

See Van Horn, 789 F.2d at 1496-97. Accordingly, Defendant’s challenges on this issue

fail and this Court should deny Defendant’s motions to suppress.

   E. Appropriate minimization procedures were followed.

      Every order authorizing interception must require that the surveillance “be

conducted in such a way as to minimize the interception of communications not
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otherwise subject to interception.” 18 U.S.C. § 2518(5). In Scott v. United States, 436

U.S. 128, 137, 98 S. Ct. 1717, 1723, 56 L. Ed. 2d 168 (1978), the United States

Supreme Court discussed the principles for reviewing claims related to agent’s

alleged failures to properly minimize intercepts. Specifically, the Court stated that,

“almost without exception in evaluating alleged violations of the Fourth Amendment

the Court has first undertaken an objective assessment of an officer's actions in light

of the facts and circumstances then known to him.” Id. at 137. In further describing

the objective analysis regarding minimization, the Court states that, “Congress, by

its use of the word ‘conducted,’ made it clear that the focus was to be on the agents'

actions not their motives.” Scott v. United States, 436 U.S. 128, 139, 98 S. Ct. 1717,

1724, 56 L. Ed. 2d 168 (1978). Additionally, “[O]nly if the minimization requirement

is blatantly disregarded will the information obtained through the wiretap be

suppressed.” United States v. Wentworth, 446 F. Supp. 3d 1302, 1313 (M.D. Ga. 2020)

(internal citations and punctuation omitted).      Improper minimization must be

egregious or taint the entire investigation for the entire wiretap to be suppressed.

United States v. Suggs, 531 F. Supp. 2d 13 (D.D.C. 2008), aff’d sub nom. United States

v. Glover, 681 F.3d 411 (D.C. Cir. 2012), United States v. Simels, No. 08-CR-640 (JG),

2009 WL 1924746 (E.D.N.Y. July 2, 2009), aff'd, 654 F.3d 161 (2d Cir. 2011).

      Defendant’s generalized and conclusory statements and arguments fall short

of the required detail and specificity that is necessary to challenge the validity of a

wiretap based on alleged failures to follow proper minimization procedures. This

Court was provided no explanation on how agents failed to minimize appropriately,
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nor did Defendant even identify a single call that he asserts should have been

minimized that was not. Defendant fails to make sufficiently definite, specific, and

detailed claims to justify consideration by this Court.

      In this case, Defendant alleges no specific violations. Nevertheless, defense

counsel inexplicably states that, “[T]he Government’s pervasive and substantial

failure to minimize non-pertinent calls as a whole in this case allows the inference

that the Government engaged in an essentially warrantless general search

warranting the suppression of all intercepted calls.” (Doc. 371 at 21). Nothing could

be further from the truth.

      The Government moves this Court to deny the motion based on alleged failures

to properly minimize because it lacks specificity. See, United States v. Carter, 449

F.3d 1287, 1295 (D.C. Cir. 2006) (defendant must identify particular conversations so

that the government can explain their non-minimization; general allegation that

government did not minimize is inadequate).

      Even assuming arguendo that the Defendant had identified specific intercepts

that were improperly monitored, this would not warrant suppression of the entire

wire unless such violations were egregious and tainted the entire investigation.

(“Based on the record and absent any specific minimization challenge by Wentworth

or Tyquiengco, the Court is satisfied that the Government made reasonable efforts to

minimize the intrusion on TT#1 through TT#5. Their conclusory allegations, without

more, certainly do not show the Government ‘blatantly disregarded’ the minimization



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requirement.” United States v. Wentworth, 446 F. Supp. 3d 1302, 1313–14 (M.D. Ga.

2020).).


      Finally, a standard of reasonableness is applied to the government's actions

regarding electronic interceptions. See United States v. De La Cruz Suarez, 601 F.3d

1202, 1215 (11th Cir. 2010); See Also United States v. Van Horn, 789 F.2d 1492, 1501

(11th Cir.), cert. denied, 479 U.S. 854, 107 S.Ct. 190, 93 L.Ed.2d 123 (1986).


      1) The Minimization procedures were outlined in the affidavits for TT-15 and

           TT-17 as well as the Instructions for Wire Interceptions.


     The minimization requirement is satisfied if the agents overall have shown a

high regard for the right of privacy and have done what they reasonably could do to

avoid unnecessary intrusion. United States v. Oriakhi, 57 F.3d 1290 (4th Cir. 1995).

A Court must evaluate the government’s minimization efforts on a case-by-case

basis. Scott v. United States, 436 U.S. 128, 139 (1978). Relevant considerations

include: the number of target individuals, the ambiguity of intercepted

conversations, the complexity of the investigation, the extent of the issuing judge’s

involvement in the electronic surveillance, and whether the supervising attorney

circulates a memorandum fully setting forth instructions that were consistent

with the minimization requirements. United States v. Malekzadeh, 855 F.2d 1492,

1495 (11th Cir. 1988), United States. V. Ozar, 50 F.3d 1440, 1447 (8th Cir. 1995).

      Given the purposes of the wiretap and the totality of the circumstances of this

case, the Court should find that the agents made reasonable attempts to minimize
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the interception of non-relevant conversations.          Agent Minton described the

minimization procedures that were to be followed by all monitors in the affidavits in

support of wiretap authorizations for TT-15 and TT-17. Agent Minton averred that

interceptions would be suspended when:


          it is determined that the conversation is unrelated to communications
          subject to interception under OCGA 16-11-64, by and through Chapter
          119 of Title 18, United States Code. Interception will be suspended
          when it is determined either through voice identification or physical
          surveillance, that the parties are not participants in the conspiracy,
          unless it is determined during the portion of the conversation already
          overheard that the conversation is criminal in nature. Even if one of
          more of the subjects or their confederates, when identified, are
          participants in the conversation, monitoring will be suspended when the
          conversation is not criminal in nature or otherwise related to the
          offenses under investigation. Spot monitoring will be utilized to ensure
          that the minimized conversations have not become criminal in nature.
          Special attention will be given to make certain that all privileged
          conversations are minimized. Finally, all monitors involved with this
          investigation will receive a briefing regarding the minimization
          requirements as provided by statute and the courts by an Assistant
          District Attorney familiar with the authorized purpose of these
          interceptions prior to being allowed to monitor live calls.

     (Affidavit TT-15 at 73 – 74; Affidavit TT-17 at 86 – 87; Affidavit for Extension TT-

     17 at 93). Furthermore, in every order, the court outlined the laws/requirements of

     minimization. (Order TT-15 14; Order TT-17 15; Order for Extension TT-17 16).




14 The Application, Investigation Warrant and Order for TT-15 have been previously
attached as Exhibit 34.
15 The Application, Investigation Warrant and Order for TT-17 has been previously

attached as Exhibit 38.
16 The Application, Investigation Warrant and Order for Extension TT-17 has been

previously attached as Exhibit 42.
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       Proof that these words were communicated and understood by agents who

monitored the TT-15 and TT-17 is evidenced by the memorialization in writing of the

“Instructions For Wire Interception.” (See Minimization Instructions TT-15, attached

as Exhibit A; Minimization Instructions TT-17, attached as Exhibit B). Specifically,

these instructions state, “[Y]our objective is to execute the Orders, intercepting only

those communications that are specifically designated and minimizing the

interception of non-pertinent or privileged communications.” (Exhibit A at 1; Exhibit

B at 1).

       These documents contain 15 pages of instructions regarding the procedures to

be followed as it relates to minimization, including a signature page containing the

signatures of every monitor acknowledging that, “I have read and understand this

document and all supporting documents, and have been briefed by either ADA Ian R.

Heap or ADA Kurtis C. Bronston.” (Exhibit A at 12; Exhibit B at 12). There is nothing

in the record that gives any reason to believe that agents did not take these briefings

seriously or follow the instructions that they were given.

       2) A statistical analysis of the interceptions clearly shows that minimization

           procedures were followed.

       According to a statistical analysis of all interceptions obtained from all 21

target telephones, not just TT-15 and TT-17 that this Defendant was intercepted on,

shows that 11% of the total calls were minimized. (See Exhibit C). However, this

number is somewhat misleading considering the fact that 81% of all intercepted calls

were less than 2 minutes. (Id.) As it relates to TT-15, only 1% of the calls were
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minimized; but over 99.9% of the calls were less than 2 minutes. (See Exhibit D).

Regarding TT-17, 24% of the calls were minimized; however, 95% of all intercepted

calls were less than 2 minutes. (See Exhibit D). As it relates to all calls less than 2

minutes, minimization does not require that monitoring cease as, “[C]onversations

lasting less than two minutes are considered too brief to identify the caller and

characterize the conversation as merely social or possibly tainted.” United States v.

De La Cruz Suarez, 601 F.3d 1202, 1215 (11th Cir. 2010) (internal quotations

omitted).

   F. The Orders are not invalid on their face

            a. The     Orders     adequately      specify     the    persons      whose

               communications may be intercepted.

         Defendant argues that the orders are invalid on their face in that they fail to

specify the persons whose communications may be intercepted. 18 USC § 2518(4).

(Doc. 371 at 21). The Defendant further argues that “this requirement is separate

and distinct from the requirements of 2518(1)(b)(iv) (requiring the application specify

the identity of the persons known to be committing the offense) and 2518(3)(a)

(requiring the Judge to find probable cause that an individual is committing a

particular offense prior to entering a wiretap order).” (Id.). In support of his position,

the Defendant argues that the orders were invalid because they did not name

individuals as target subject after they were identified by law enforcement. (Id. at

22).



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      However, “[a] wiretap application need not provide probable cause of criminal

activity for each person named in an application. . . What is required is sufficient

information so that a judge could find probable cause to believe that the telephone in

question is being used in an illegal operation.” United States v. Domme, 753 F.2d 950

at 954 n. 2 (11th Cir. 1985) (citations omitted).     As discussed supra, the facts

contained in the Affidavits related to TT-15 and TT-17 provide more than enough

probable cause for the authorizing judge to have determined that these target

telephones were being used in an illegal operation.

      While it is true that Defendant Smith is not identified in the Affidavit,

Application or Order authorizing interception of TT-15, this does not run afoul of the

law as the Order authorizing interception need only specify, “the identity of the

person, if known, whose communications are to be intercepted.” 18 U.S.C. § 2518(a)

(emphasis added). Defendant Smith’s identity was not known at the time that the

Order for TT-15 was signed as he had not been intercepted on prior target telephones.

Defendant’s motion to suppress brief even acknowledges that Smith had not been

intercepted prior to TT-15. (Doc. 371 at 2) (“Movant’s communications were first

intercepted based on the ‘Sealed Court Order’ dated June 10th, 2020 and signed by

Hon. Louisa Abbot, Judge, Superior Court of Chatham County, and referenced as

‘Target Telephone -15 and/or TT-15’”).

      In United States v. Kahn, 415 U.S. 143 (1974), the Supreme Court rejected a

Court of Appeals interpretation of Title III which would require any application for

judicial authorization to, “‘identify all persons, known or discoverable, who are
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committing the offense and whose communications are to be intercepted.’ But that

is simply not what the statute says: identification is required only of those ‘known’ to

be ‘committing the offense.’ Had Congress wished to engraft a separate requirement

of ‘discoverability’ onto the provisions of Title III, it surely would have done so in

language plainer than that now embodied in s 2518.” United States v. Kahn, 415 U.S.

143, 152–53, 94 S. Ct. 977, 983, 39 L. Ed. 2d 225 (1974).

      The Affidavit in support of an Order authorizing the interception of TT-17 does

identify Raphael Samuel Smith as one of the main subjects of the investigation, even

going so far to include a photograph of him, his nickname (“Ray Ray”), his social

security number, his FBI number, Georgia State ID number and the phone number

that he was believed to be utilizing. (Affidavit TT-17 at 16 – 17; Affidavit Extension

TT-17 at 17). Defendant Smith is then identified multiple times, albeit with less

detailed information, in the Application for wiretap authorization for TT-17.

(Application TT-17 at 3, 6, 7, 16, 17, 18, 19; and Application Extension TT-17 at 3, 6,

7, 18, 20, 21). The Application TT-17 and Application Extension TT-17 further

provides that the, “basis of probable cause referred to in this application are the facts,

circumstances, observations and data described in the affidavit of Agent Brent

Minton of the Chatham-Savannah Counter Narcotics Team (hereinafter CNT), whose

affidavit is expressly incorporated by reference in this application, and a [sic] made a

part of it.” (Application TT-17 at 2; Application Extension TT-17 at 2).

      Although the state court Order signed by the Honorable Louisa Abbot, Judge

of the Superior Court of Chatham County for TT-15 and 17 do not identify the
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Defendant, the Investigation Warrants signed by Judge Abbot do as is proper

pursuant to Georgia law which states,

         (c) Upon written application, under oath, of the district attorney having
         jurisdiction over prosecution of the crime under investigation or the
         Attorney General made before a judge of superior court having
         jurisdiction over the crime under investigation, such court may issue an
         investigation warrant permitting the use of a device for the surveillance
         of a person or place to the extent the same is consistent with and subject
         to the terms, conditions, and procedures provided for by 18 U.S.C.
         Chapter 119. Such warrant shall have state-wide application and
         interception of communications shall be permitted in any location in this
         state.

Ga. Code Ann. § 16-11-64. Therefore, in the State of Georgia, the “Investigation

Warrant” is the court order that authorizes interception of a target facility and in the

present case it identified Defendant as a person to be intercepted. (Investigation

Warrant TT-17 at 3; Investigation Warrant Extension TT-17 at 3). Furthermore, the

Investigation Warrants for TT-17 specifically state that the application and affidavit

in support of the Investigation Warrant, “are expressly incorporated by reference in

this Investigation Warrant, and made a part of it in support of the allegations

thereof.” (Investigation Warrant TT-17 at 1; Investigation Warrant Extension TT-17

at 1).

            b. The Orders adequately provide a description of the type of

               communications sought to be intercepted.

         Lastly, Defendant states, without support, that, “the application and orders

are insufficient on their face in their failure to provide a sufficiently particular

description of the type of communication sought to be intercepted as required by 18


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U.S.C. §2518(1)(b)(ii) and 18 U.S.C. §2518(4)(c).” (Doc. 371 at 22). This one sentence

is the sum total of Defendant’s argument regarding the insufficiency of the

description of the communications to be intercepted.

         Defendant’s allegation that the Orders are insufficient without identifying the

manner in which they are insufficient is nothing more than a general or conclusory

assertions that the Court need not act upon. Cooper, 2013 F.3d 1279, 1284 (11th Cir.

2000).

         In United States v. Najera-Perez, No. 1:12-CR-232-2-CAP, 2014 WL 888651, at

*17 (N.D. Ga. Mar. 6, 2014) the Court states:

         Defendant contends that the applications for the wiretaps and the
         Orders authorizing them are insufficient on their face because they fail
         to provide a sufficiently particular description of the type of
         communication sought to be intercepted in violation of 18 U.S.C. §§
         2518(1)(b)(iii) and 2518(4)(c) Defendant, however, does not provide any
         hint as to how the descriptions within the applications and Orders were
         deficient. Issues raised in a perfunctory manner, without supporting
         arguments and citations to authorities, are generally deemed to be
         waived. United States v. Langford, 647 F.3d 1309, 1331 (11th Cir.2011).

         In this case, Defendant has raised this challenge to the sufficiency of the Order,

in the same perfunctory manner, without supporting arguments and citations to

authorities as the Defendant in Najera-Perez, and as such this argument should be

deemed to be waived.

   G. The Good Faith doctrine does apply to wiretaps.

         This Court held that the good faith exception to the exclusionary rule applies

to wiretaps. United States v. Malekzadeh, 855 F.2d 1492, 1497 (11th Cir. 1988). In

Malekzadeh, this Court affirmed the district court’s ruling that wiretap evidence
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would not be suppressed where an agent relied on and referred to public records of

an apparently valid earlier search warrant in the wiretap application. Id. “The trial

court based its decision on the agent’s good faith reliance on public records,” and this

Court held that the use of public records “was objectively reasonable [, and that]

[e]xcluding the fruits of the wiretap would in no way work to deter the conduct of the

officer who relied on public information as a basis for the wiretap application.” Id.

      The good faith exception to the exclusionary rule applies to wiretap

applications and orders. United States v. Malekzadeh, 855 F.2d 1492, 1497 (11th Cir.

1988). In United States v. Leon, 468 U.S. 897, 104 S. Ct. 3405 (1984), and

Massachusetts v. Sheppard, 468 U.S. 981, 104 S. Ct. 3424 (1984), the Supreme Court

established a good faith exception to the exclusionary rule where officers placed

reasonably objective reliance on a search warrant later determined to be defective. A

court will not suppress evidence obtained pursuant to a warrant issued without

probable cause unless “(1) the issuing magistrate was knowingly misled; (2) the

issuing magistrate wholly abandoned his or her judicial role; (3) the application was

so lacking in indicia of probable cause as to render reliance upon it unreasonable; or

(4) the warrant was so facially deficient that reliance upon it is unreasonable. Rijo,

2006 WL 3056526 at*12 (citing Leon, 468 U.S. at 923). The good faith exception

requires suppression “only if the officers were dishonest or reckless in preparing their

affidavit or could not have harbored an objectively reasonable belief in the existence

of probable cause.” United States v. Accaardo, 749 F.2d 1477, 1480 (11th Cir. 1985)

(quoting Leon, 468 U.S. at 926, 104 S. Ct. at 3422); United States v. Martin, 297 F.3d
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1308, 1313 (11th Cir. 2002). The totality of the circumstances surrounding the

issuance of the warrant may be considered when making this decision. Accaardo, 749

F.2d at 1481.    In the event this Court finds that the Court made impractical,

unreasonable, and unrealistic findings of probable cause, the evidence should not be

suppressed because the investigators acted in the objectively reasonable belief that

their conduct did not violate the Fourth Amendment. United States v. Leon, 468 U.S.

897 (1984).

      E.      There is no need for a hearing in this matter.

      “A motion to suppress must allege facts which, if proven, would provide a basis

for relief. A court need not act upon general or conclusory assertions founded on mere

suspicion or conjecture.” United States v. Corriertte, 171 Fed. Appx. 319, 322 (11th

Cir. 2006)(quoting United States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985)).

“The court has discretion in determining the need for a hearing.” Richardson, 764

F.2d at 1527. When a defendant raises a challenge that an application fails on its

face to satisfy Title III’s statutory requirement, the court first must examine whether

the affidavit is facially sufficient, which does not require a hearing. United States v.

Ashley, 876 F.2d 1069, 1073 (1st Cir. 1989). Furthermore, as Defendant has not

alleged that the affidavits contained deliberate misstatements and omissions of

material fact, no evidentiary hearing to resolve these issues is required. Franks v.

Delaware, 438 U.S. 154, 98 S.Ct. 2674, 57 L.Ed.2d 667 (1978).

      Because the defendant is challenging only the face of the affidavits and did not

demonstrate any arguable misconduct that justifies a Franks hearing, there is no
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need for a hearing. All of the matters in dispute may be resolved by reviewing the

four corners of the documents in question.

                                    CONCLUSION

      Defendant’s motion to suppress any evidence derived from the intercepts of TT-

15 and TT-17 lack support in the facts and the law. The Affidavits, Applications,

Investigation Warrants and Orders met all of the technical requirements of Title 18

United States Code, Section 2518; provided ample probable cause for their issuance;

demonstrated the necessity for requesting wire and electronic interceptions; and

agents appropriately followed minimization procedures.      For these reasons, this

Court should, without need for any evidentiary hearing on any issue, deny the

Defendant’s motions to suppress evidence arising from the Title III wiretaps.

      This 1st day of April 2022.

                                       Respectfully submitted,

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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

UNITD STATES OF AMERICA                  )
                                         )
                                         )        CASE NO. 4:21-cr-111
                   v.                    )
                                         )
RAPHAEL SAMUEL SMITH                     )
                                         )

                         CERTIFICATE OF SERVICE
      The undersigned AUSA certifies that a copy of this response has been filed

electronically on the ECF system and therefore served on parties.

                                      Respectfully submitted,

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